         Case 1:17-cv-00365-LY Document 92 Filed 05/22/18 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS                                     ;p
                                                                                              hi           r1
                                  AUSTIN DIVISION                                                               .-   L.



UMG RECORDINGS, INC., CAPITOL                    §
RECORDS, LLC, WARNER BROS.                       §
RECORDS INC., SONY MUSIC                         §
ENTERTAINMENT, ARISTA                            §
RECORDS LLC, ARISTA MUSIC,                       §
ATLANTIC RECORDING                               §
CORPORATION, CAPITOL                             §
CHRISTIAN MUSIC GROUP, INC.,                     §
ELEKTRA ENTERTAINMENT GROUP                      §
INC., FONOVISA, INC., FUELED BY                  §
RAMEN LLC, LAFACE RECORDS                        §
LLC, NONESUCH RECORDS INC.,                      §
RHINO RECORDS, INC., ROC-A-                      §
FELLA RECORDS, LLC, TOOTH &                      §
NAIL, LLC, ZOMBA RECORDING LLC,                  §
                  PLAINTIFFS,                    §
                                                 §
 V.                                              §           CAUSE NO. A-17-CV-365-LY
                                                 §
 GRANDE COMMUNICATIONS                           §
 NETWORKS LLC, AND PATRIOT                       §
 MEDIA CONSULTING, LLC,                          §
                DEFENDANTS.                      §
                                                 §



                                           )    1 I] *   j



       IT IS HEREBY ORDERED that Plaintiffs' Motion for Leave to Amend Complaint to

Allege Facts Based on Newly-Discovered Evidence filed May 5, 2018 (Clerk's Document No. 85),

Defendant Grande Communications Networks, LLC and Non-Party Patriot Media Consulting, LLC' s

Response in Opposition to Plaintiffs' Motion for Leave to Amend filed May 17, 2018 (Clerk's

Document No. 91) and any reply that may be filed are REFERRED to United States Magistrate

Judge Andrew Austin for report and recommendation.           See   28 U.S.C.   §   636(b)(1)(B), Fed. R. Civ.

P. 72; Loc. R. W. D. Tex. Appx. C, Rule 1(d).
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       Plaintiffs' Unopposed Motion for Leave to File Certain Exhibits to Plaintiffs' First Amended

Complaint Under Seal filed May 3, 2018 (Clerk's Document No. 86) is REFERRED to United

States Magistrate Judge Andrew Austin for disposition.   See   28 U.S.C.   §   636(b)(1)(A), Fed. R. Civ.

P. 72; Loc. R. W. D. Tex. Appx. C, Rule 1(d).

       SIGNED this    JI3          day of May, 2018.




                                             LEE YEAKEL          I         I
                                             UTED STAT.ES DISTkICT JUDGE




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